                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


PROLITEC INC.,                                   §
                                                 §
Plaintiff,                                       §
                                                 §
        v.                                       §
                                                            Civil Action No. 20-984-WCB
                                                 §
SCENTAIR TECHNOLOGIES, LLC.,                     §
                                                 §
Defendant.                                       §
                                                 §



                               REVISED SCHEDULING ORDER

        The parties have requested that the court provide a revised schedule for further proceedings

on the counterclaim alleging infringement of ScentAir’s U.S. Patent No. 10.838,388 (“the ’388

patent”).

        1. The stay of the counterclaim proceedings in this case, entered on August 8, 2023 (D.I.

212) is hereby lifted.

        2. As requested by Prolitec, I will permit each party to file new briefing with respect to

Prolitec’s motion for judgment on the pleadings (D.I. 104). Prolitec is directed to file an opening

brief by May 15, 2024. ScentAir’s response will be due May 22, 2024. Prolitec’s reply brief will

be due May 27, 2024. The opening and response briefs will be limited to 20 pages, and the reply

will be limited to 10 pages.

        3. With respect to Prolitec’s request for supplemental claim construction based on alleged

prosecution disclaimer during the reexamination proceeding, Prolitec may file a brief on that

subject of no more than 15 pages by June 3, 2024. ScentAir will be required to file a responsive

brief of no more than 15 pages within 14 days of the filing of Prolitec’s brief. Prolitec will then

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be permitted to file a reply brief of no more than 5 pages within 7 days of the filing of ScentAir’s

brief.

         4. The court will resolve both of those issues as promptly as possible. In the event that the

court does not dismiss ScentAir’s infringement claim, the parties will have an opportunity to file

reply expert reports within 21 days of the date of the latter of the court’s orders on the motion for

judgment on the pleadings and the motion for supplemental claim construction. Those reports may

take account of the court’s order on the motion for supplemental claim construction.

         5. At that time, the court will set deadlines for the completion of expert discovery,

dispositive motions, the pretrial conference, and the trial, if necessary. The parties should take

note that the court’s trial calendar is currently full until at least April 2025.

         IT IS SO ORDERED.

         SIGNED this 8th day of May, 2024.




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                                                WILLIAM C. BRYSON
                                                UNITED STATES CIRCUIT JUDGE




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